Case 2:18-cv-02168-LI\/|A-.]CW Document 12 Filed 05/16/18 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTR!CT OF LOUISIANA

DIANE BROWN CWIL ACTION

VERSUS NO: 2:18-CV-2168 | SEC"I`ION: 1(2)
SOUTHERN VISIONS, LLP, DBA JUDGE: AFRICK | MAGISTRATE:
SWEET BREW TEA AND SUGAR CO. WILKINSON

a=s=***a=aa>i==z=>:=**=i¢=i==i=*seaaaassa*s==i==i=*s=>:=>:==c=**************4=**=)=

*
=l<
se
=i=
*
=l=

PROTECTIVE ORDER

Considering the CONSENT MOTION STIPULATION AND PROTECTIVE ORDER filed
by all parties, the motion is hereby GRANTED. lt is hereby ORDERED that PLAINTIFF and
DEFENDANT, and their respective counsel, be and are hereby prohibited from disclosing any
documents, records or electronic data that may be produced in this matter, pursuant to Written
discovery requests, depositions, and/or subpoenas, designated by any attorney enrolled as
counsel for DEFENDANT or by any attorney enrolled as counsel for PLAINTIFF or by any non-
party witness or entity required to produce documents, records, and/or electronic data in the
captioned matter as “confidential” (“CONFlDENTlAL ITEMS”). This prohibition of disclosure
includes making known to others, subject to the exception below, any information that Was
discovered, learned or obtained solely because of the receipt of items designated as confidential
(“CONFIDENTIAL INFORMATIO ”). CONFIDENTIAL INFORMATION and
CONFIDENTIAL ITEMS can only be shared with:

l. Any attorney enrolled as counsel in the captioned matter;

 

 

Case 2:18-cv-O2168-LI\/|A-.]CW Document 12 Filed 05/16/18 Page 2 of 2

/'/i M?¢hn a ~

2. The Court (and its staff), but only When such documents are filed h’@
WHLR 5.6 of the “Local Cz'w`l Rules of The Unitea’ States Di`stri`ct Courtfor The '5%-57/ 5- n
Easterii Disfrl'ct of Loui'siana”;

All parties retain the right to challenge any confidential designation, but no document, record or
electronic data designated as confidential Will be released from the confidential designation until
after hearing and order, or order With the consent of all parties; and no document, record or
electronic data designated as confidential by a non-party witness/entity Wiil be released from the
confidential designation until after notice and opportunity to be heard to the producing non-party
witness/entity.

IT IS SO ORDERED.
. . . A
New Orleans, Louisiana, this / 5’ day of £V , 2018.

;Q;?QQ

//. 5. M.¢z,rUDGE

 

